         Case 1:18-cv-10340-DJC Document 74 Filed 03/08/19 Page 1 of 4




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                                      )
CENTRO PRESENTE, et al.,                              )
                                                      )
                      Plaintiffs,
                                                      )   No. 1:18-cv-10340-DJC
v.                                                    )
                                                      )   ORAL ARGUMENT REQUESTED
DONALD J. TRUMP, et al.,                              )
                                                      )
                      Defendants.                     )


                    PLAINTIFFS’ MOTION TO COMPEL RESPONSES
                      TO WHITE HOUSE DISCOVERY REQUESTS

       Pursuant to Fed. R. Civ. P. 37(a)(3)(B), Plaintiffs Centro Presente, et al. (the

“Plaintiffs”) respectfully move this Court for an order compelling Defendants United States

Department of Homeland Security (“DHS”), Donald J. Trump, President of the United States in

his official capacity (“President Trump”), DHS Secretary Kirstjen Nielsen (“Secretary Nielsen”),

and DHS Deputy Secretary Elaine Costanzo Duke (“Deputy Secretary Duke,” and together with

DHS, President Trump, and Nielsen, the “Defendants”), to respond to particular document

requests and a deposition notice issued pursuant to Fed. R. Civ. P. 30(b)(6).

       As explained more fully in Plaintiffs’ Memorandum of Law in Support, filed

contemporaneously herewith, Defendants have categorically refused to search for or produce

documents and to designate a Rule 30(b)(6) deponent on the basis of privilege and undue burden

in response to Plaintiffs’ discovery requests directed towards President Trump and his agents

within the White House. Instead, Defendants have invoked blanket assertions of presidential

communications privilege and deliberative process privilege, as well as claims of undue burden,

without any factual support. The law does not support Defendants’ position.



                                               -1-
          Case 1:18-cv-10340-DJC Document 74 Filed 03/08/19 Page 2 of 4




       The parties have conferred at length regarding these issues in an effort to resolve them

without involvement by the Court. Without this Court’s intervention, Defendants will continue

to disregard their discovery obligations, further harming Plaintiffs’ ability to prepare their case.

       WHEREFORE, Plaintiffs request that the Court compel Defendants to respond within

fourteen days of the resolution of this Motion by (i) producing the requested non-privileged

discovery and designating a Rule 30(b)(6) deponent, and (ii) providing a specific log of allegedly

privileged documents that are withheld and objections to Plaintiffs’ Rule 30(b)(6) deposition

topics, if any. If and when Defendants log their privilege claims and specify their objections,

Plaintiffs will seek guidance from the Court with respect to expedited review and evaluation of

those privilege claims and objections, in light of the current deadlines in the Scheduling Order.

                             REQUEST FOR ORAL ARGUMENT

       Pursuant to Local Rule 7.1(d), Plaintiffs respectfully request that this Court schedule a

hearing on this motion.




                                                -2-
        Case 1:18-cv-10340-DJC Document 74 Filed 03/08/19 Page 3 of 4




Dated: March 8, 2019                Respectfully submitted,

                                    /s/ Allison S. Ercolano
                                    Oren Sellstrom (BBO# 569045)
                                    Oren Nimni (BBO #691821)
                                    Iván Espinoza-Madrigal (Admitted Pro Hac Vice)
                                    LAWYERS’ FOR CIVIL RIGHTS
                                    61 Batterymarch Street, 5th Floor
                                    Boston, Massachusetts 02110
                                    (617) 988-0624

                                    Eric J. Marandett (BBO# 561730)
                                    Carlos J. Perez-Albuerne (BBO# 640446)
                                    Kevin P. O’Keefe (BBO# 697101)
                                    Xing-Yin Ni (BBO# 693876)
                                    Leah R. Milbauer (BBO# 703717)
                                    Allison S. Ercolano (BBO# 698601)
                                    Natalia Smychkovich (BBO# 699289)
                                    Margaret J. Burnside (BBO# 698763)
                                    CHOATE, HALL & STEWART LLP
                                    Two International Place
                                    Boston, Massachusetts 02110
                                    (617) 248-5000




                                    -3-
          Case 1:18-cv-10340-DJC Document 74 Filed 03/08/19 Page 4 of 4




        CERTIFICATE OF COMPLIANCE WITH LOCAL RULES 7.1 AND 37.1

       I, Allison S. Ercolano, counsel for plaintiffs Centro Presente, et al., certify that the parties

convened several conferences in good faith to discuss the foregoing discovery disputes, as set

forth in detail at paragraphs four through nine of the accompanying Declaration of Kevin P.

O’Keefe in Support of Plaintiffs’ Motion to Compel Responses to White House Discovery

Requests. Defendants have not assented to this motion.

                                                   /s/ Allison S. Ercolano
                                                   Allison S. Ercolano (BBO# 698601)

Dated: March 8, 2019


                               CERTIFICATE OF SERVICE
       I hereby certify that this document filed through the ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)

and paper copies will be sent to those indicated as non-registered participants.



                                                   /s/ Allison S. Ercolano
                                                   Allison S. Ercolano (BBO# 698601)

Dated: March 8, 2019




                                                -4-
